                   UNITED STATES DISTRICT COURT
                                          Northern District of Texas


ANTHONY BURRIS, INDIVIDUALLY AND ON                     §
BEHLAF OF ALL OTHERS SIMILARLY                          §
SITUATED                                                §
PLAINTIFF                                               §
                                                                        CAUSE NO. 3:24-cv-01208-X
                                                        §
VS.
                                                        §
AT&T INC.                                               §
DEFENDANT                                               §
                                                        §
                                                        §

                                     SUMMONS IN A CIVIL ACTION
                                        RETURN OF SERVICE



This SUMMONS IN A CIVIL ACTION, CLASS ACTION COMPLAINT for AT&T INC. c/o Registered
Agent CT CORPORATION SYSTEM was received by me on Tuesday, May 21, 2024 at 3:54 PM.

I delivered the above-mentioned documents to Intake Specialist: George Martinez who represented that
they were authorized to accept service on behalf of AT&T INC. c/o Registered Agent CT
CORPORATION SYSTEM on Wednesday, May 22, 2024 at 3:51 PM at 1999 BRYAN STREET STE.
900, DALLAS, TX 75201.

I am over the age of eighteen, and am not a party to this case.

I declare under penalty of perjury that this information is true.

Wednesday, May 22, 2024

Tracy Dewayne Edwards
Tracy Dewayne Edwards
Process Server
1015 Devonshire Drive South
Forney, TX 75126



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DocID: P322653_1
